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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA
Case Number: 6:14-cr-237-Orl-41DAB

 

vs
JOSEPH MICHAEL PRICE | USM Number: 61147-018
Ikla Dee L McG
aia Bicc STS Te aS Amanda Regina Jacobson, CJA
Suite A
351 E. SR 434

Winter Springs, FL 32708
JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Counts One and Two of the Superseding Information. Accordingly, the Court has
adjudicated the defendant guilty of the following offenses:

Date Offense Count
Title & Section Nature of Offense Concluded Number(s)
18 U.S.C. §§ 1951(a)(b) and 2 Aiding and Abetting the Robbery of a Retail Store January 30, 2014 One
18 U.S.C. §§ 924(c)(1)(A) and2 = Aiding and Abetting the Use and Carrying of a January 30, 2014 Two

Firearm During and in Relation to a Robbery

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Counts 1-3 of the Superseding Indictment and the Original Indictment are dismissed on the motion of the United States.

IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change
in the defendant's economic circumstances.

 

 

ans E. MENDOZA
UNITED STATES DISTRICT JUDGE

July (1, 2015

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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 117 Months, which terms consists of 57 months on Count One and a consecutive term of 60 months on Count
Two.

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
| have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years on each of
counts one and two, all such terms to run concurrently.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours
of release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The mandatory drug testing requirements of the Violent Crime Contro! Act are imposed. The Court orders the
defendant to submit to random drug testing not to exceed 104 tests per year.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the defendant
pay any such fine or restitution that remains unpaid at the commencement of the term of supervision in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

The defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer in a manner and frequency directed by the court or probation
officer;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;

7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or

administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

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10.

11.

12.

13.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make
such notifications and to confirm the defendant's compliance with such notification requirement.

ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

The defendant shall participate in a substance abuse program (outpatient and/or inpatient) and follow the probation
officer's instructions regarding the implementation of this court directive. Further, the defendant shall contribute to
the costs of these services not to exceed an amount determined reasonable by the Probation Office's Sliding Scate_
for Substance Abuse Treatment Services. During and upon completion of this program, the defendant is directed
to submit to random drug testing.

The defendant shall participate in a mental health treatment program (outpatient and/or inpatient) and follow the
probation officer's instructions regarding the implementation of this court directive. Further, the defendant shall
contribute to the costs of these services not to exceed an amount determined reasonable by the Probation Office’s
Sliding Scale for Mental Health Treatment Services.

The defendant shall submit to a search of his or her person, residence, place of business, any storage units under
the defendant's control, computer, or vehicle, conducted by the United States Probation Officer at a reasonable
time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
condition of release. Failure to submit to a search may be grounds for revocation. The defendant shall inform any
other residents that the premises may be subject to a search pursuant to this condition.

The defendant shall cooperate in the collection of DNA, as directed by the probation officer.

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of

payments set forth in the Schedule of Payments.

Total Assessment Total Fine Total Restitution
$200.00 $0.00 $4,000.00

The defendant shall make restitution (including community restitution) to the following payees in the amount listed

below. Restitution is payable to the Clerk, U.S. District Court for distribution to the victims.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless

specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I),
all nonfederal victims must be paid in full prior to the United States receiving payment.

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Total Amount Amount of
Name of Payee of Loss Restitution Ordered
CVS Caremark Corporation $4,000.00 $4,000.00
1 CVS Drive
Woonsocket, Rhode Island 02895
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
The Special Assessment in the amount of $200.00 is due in full and immediately.

While in the custody of the Bureau of Prisons, the defendant shall either (1) pay at least $25.00 quarterly if working non-
Unicor or (2) pay at least 50 percent of his or her monthly earnings if working in a Unicor position. Upon release from
custody, the defendant is ordered to begin making payments of $150.00 per month and this payment schedule shall continue
until such time as the Court is notified by the defendant, the victim or the government that there has been a material change
in the ability to pay. The Court finds that the defendant does not have the ability to pay interest and the Court waives
the interest requirement for the restitution.

Untess the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of

imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary

penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program,

are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Joint and Several

Restitution shall be paid jointly and severally with Darren Leon Givens.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest (if
applicable), (4) fine principal, (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of
prosecution and court costs.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full

before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the
Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‘Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses committed
on or after September 13, 1994 but before April 23, 1996.

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